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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                       GREENVILLE DIVISION

Webber Ventures, LLC,                                    Civil Action No. 6:21-cv-02573-TMC

                      Plaintiff,
                                                          STIPULATION OF DISMISSAL
       vs.                                                     WITH PREJUDICE

Sentinel Insurance Company, Limited,

                      Defendant.



        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate that the above-

 captioned action be, and the same hereby is, dismissed and forever ended with prejudice. The

 parties agree and stipulate that this dismissal with prejudice shall apply to and finally dispose of

 all claims which were or could have been asserted in the above-captioned action, with each party

 to bear their own respective costs.

 WE SO STIPUATE:


 s/ William M. Wilson, III_____________             s/ Amy H. Geddes __________________
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 Webber Ventures, LLC                               Sentinel Insurance Company Limited


 June 14, 2022
